       Case 2:09-cr-02968-RB          Document 533     Filed 07/11/16     Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff/Respondent,

vs.                                                      No. CV 16-00736-RB-SMV
                                                         No. CR 09-02968-RB

DANIEL RAMON MUÑOZ,

              Defendant/Movant.


                     ORDER STAYING CASE PENDING
       TENTH CIRCUIT AUTHORIZATION PURSUANT TO 28 U.S.C. § 2255(h)

       THIS MATTER is before the Court under rule 4 of the Rules Governing Section 2255

Proceedings on Defendant/Movant Daniel Ramon Muñoz’s Motion to Correct Sentence Pursuant

to 28 U.S.C. § 2255, filed on July 27, 2016. [CV Doc. 1; CR Doc. 531] This is a successive

§ 2255 Motion and Muñoz has not yet obtained authorization to proceed from the United States

Court of Appeals for the Tenth Circuit. See 28 U.S.C. § 2255(h). The Court notes, however,

that Muñoz has filed a Motion for Permission in the Tenth Circuit, seeking authorization to

proceed with his § 2255 Motion. See In re: Muñoz, No. 16-2160 (10th Cir. June 28, 2016).

Therefore, the Court will order this case stayed pending the Tenth Circuit’s ruling on Muñoz’s

Motion for Permission.
       Case 2:09-cr-02968-RB         Document 533       Filed 07/11/16     Page 2 of 2




       IT IS ORDERED that this matter is STAYED pending the ruling of the United States

Court of Appeals for the Tenth Circuit on Muñoz’s Motion for Permission to file a second or

successive habeas petition under 28 U.S.C. § 2255.



                                            ____________________________________
                                            STEPHAN M. VIDMAR
                                            UNITED STATES MAGISTRATE JUDGE
